      Case 3:13-cr-00492-GPC                 Document 648          Filed 12/19/14           PageID.2274         Page 1 of 4
AO 2458 (CASDRev. 08113) Judgment in a Criminal Case                                                             FILED ~."
                                      UNITED STATES DISTRICT COUR                                               DEC' 9 2014
                                           SOUTHERN DISTRICT OF CALIFORJ\1IA
             UNITED STATES OF AMERICA
                                 V.                                 (For Offenses Committed On or After November 1, 19
                    PEDRO MILLAN (1)
                                                                        Case Number:         13CR0492-GPC

                                                                     DANIEL L. RODRIGUEZ
                                                                     Defendant's Attorney
REGISTRATION NO.                 37446298
D ­
THE DEFENDANT:
IZl pleaded guilty to count(s)          1 of the Superseding Information.

D   was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                       Nature of Offense                                                              Number(s)
21 USC 841(a)(1), 846                 Conspiracy to distribute methamphetamine.                                         1




     The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

IZl Count(s)     Underlying Indictment                        is           dismissed on the motion of the United States.

IZl    Assessment: $100.00.



IZl    Fine waived                    Forfeiture pursuant to order filed                                        , included herein.
       IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notity the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                     December 19,2014



                                                                     HON. GONZALO P. cuRiEL"'
                                                                     UNITED STATES DISTRICT JUDGE



                                                                                                                    13CR0492-GPC
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                 PEDRO MILLAN (1)                                                       Judgment - Page 2 of 4
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                                                 IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
136 months.




o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
IZI    The court makes the following recommendations to the Bureau of Prisons:
       Designation to the Western Region of the United States.




o       The defendant is remanded to the custody of the United States Marshal.

o       The defendant shall surrender to the United States Marshal for this district:
        o    at _ _ _ _ _ _ _ _ A.M.                         on
                                                                  -------------------------------------
             as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o       Prisons:
        o    on or before
        o    as notified by the United States MarshaL
             as notified by the Probation or Pretrial Services Office.

                                                      RETURN
J have executed this judgment as follows:

        Defendant delivered on
                                 ------------------------- to
at                                        , with a certified copy of this judgment.
      -----------------------

                                                                  UNITED STATES MARSHAL



                                     By                   DEPUTY UNITED STATES MARSHAL



                                                                                                        13CR0492-GPC
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    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                  PEDRO MILLAN (1)                                                                             Judgment - Page 3 of 4
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 years.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk offuture
         substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
         resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                       STANDARD CONDITIONS OF SUPERVISION
    I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)  the defendant shall support his or her dependents and meet other family responsibilities;
    5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
        reasons;
    6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
        any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ora felony.
        unless granted permission to do so by the probation officer;
    10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
        observed in plain view of the probation officer;
    II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a Jaw enforcement officer;
    12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
        the court; and
    13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
        personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
        with such notification requirement.



                                                                                                                                    13CR0492-GPC
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DEFENDANT:             PEDRO MILLAN (1)                                                       Judgment - Page 4 of 4
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                                 SPECIAL CONDITIONS OF SUPERVISION

     1. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

     2   If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States
         illegally and report to the probation officer within 24 hours of any reentry to the United States;
         supervision waived upon deportation, exclusion, or voluntary departure.

II




                                                                                                    13CR0492-GPC
